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                             UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA
                                   TAMPA DIVISION

JAMES FICKEN, trustee,
SUNCOAST FIRST TRUST, and
SUNCOAST FIRST TRUST,

               Plaintiffs,

v.                                                           Case No. 8:19-cv-1210-T-36SPF

CITY OF DUNEDIN, FLORIDA, et al.,

            Defendants.
_______________________________________/

                                           ORDER

       This matter is before the Court on Plaintiffs’ Motion to Compel Production of

Documents and Interrogatory Responses (Doc. 36) and Second Motion to Compel

Production of Documents (Doc. 40). Defendants filed a Response to the motions (Doc. 41).

The Court held a hearing on the motions on May 6, 2020 at which it heard argument from

the parties.

       For the reasons stated at the hearing, it is hereby

       ORDERED:

       (1) Plaintiffs’ Motion to Compel Production of Documents and Interrogatory

           Responses (Doc. 36) and Second Motion to Compel Production of Documents

           (Doc. 40) are GRANTED IN PART and DENIED IN PART as follows:

               a. granted as to Request for Production 5 and Interrogatory 6 with respect to

                   information regarding the effects of overgrown lawns the code enforcement

                   board relied on when considering the gravity of Plaintiff’s violation(s) in

                   2018;
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             b. granted as to Request for Production 3 and Third Request for Production 1

                  but limited to assessments, audits or studies by the City of Dunedin or the

                  code enforcement board commissioned covering the period from July 5,

                  2018 to August 21, 2018, and denied as to drafts and communications;

             c. denied as to Interrogatory 4;

             d. denied as to Interrogatory 8;

             e. as to Interrogatory 9, the motion is denied as to the May 16, 2019 Tampa

                  Bay Times story but otherwise granted, and the City of Dunedin shall

                  provide a list of every interaction between code-enforcement officials and

                  Plaintiff from July 5, 2018 to August 21, 2018;

             f. denied as to Request for Production 4 and Interrogatory 1;

             g. granted as to Interrogatory 7 but limited to fiscal years 2010, 2014, and

                  2018; and

             h. granted as to Request for Production 6 as to any information in the

                  personnel files of Tom Colbert and Mike Kepto in which they make

                  reference to code enforcement actions made in an effort to generate revenue

                  from 2015 through 2018.

      (2) Defendants shall produce the requested discovery within 14 days of the date of this

         Order.

      ORDERED in Tampa, Florida, this 6th day of May 2020.




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